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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA
                                            Crim. No. 18-CR-32-2 (DLF)
               v.

    CONCORD MANAGEMENT AND
    CONSULTING LLC,

               Defendant.


    GOVERNMENT’S UNOPPOSED MOTION FOR ONE BUSINESS DAY EXTENSION

        The United States of America, by and through undersigned counsel, respectfully requests

an extension of one business day, from today, January 17, 2020, until Tuesday, January 21, 2020,

of its deadline to file a response to Concord Management and Consulting’s (“Concord’s”)

Motion in Limine to Exclude Evidence. 1 Concord does not oppose this relief.

        Although the government intended to file its response today, the government, in light of

the press of other business, now seeks a brief extension of time within which to complete its

filing. In addition, the government has determined that additional review of its filing within the

Department of Justice would be appropriate and beneficial and seeks a brief extension to allow

for that review. This extension should not affect the timing of any argument on Concord’s

motion, as any reply in support of the motion is not currently due until January 24, 2020.

Although the Court has scheduled a hearing in this case for January 24, 2020, Concord’s motion

(and the Government’s own Motion in Limine (Doc. 298)) would not be ripe for argument at that

hearing. The next scheduled hearing is February 11, 2020, at which time the Court would

presumably address the motions in limine.



1
        Monday, January 20, 2020, is a federal holiday (Birthday of Martin Luther King, Jr.).
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       In the event the Court grants the relief requested here, the government would request that

the Court extend Concord’s deadline to file any reply in support of its motion in limine from

January 24, 2020, until Tuesday, January 28, 2020.

       A proposed order is attached.



                                       Respectfully submitted,

JOHN C. DEMERS                                              JESSIE K. LIU
Assistant Attorney General for National Security            United States Attorney

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